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                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                            CIVIL MINUTES - GENERAL


 Case No.           CV 19-8972-CBM(FFMx)                                            Date     JULY 14, 2021


 Title      Seth Shapiro v. AT&T Mobility, LLC.,


 Present: The Honorable            CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE



                    YOLANDA SKIPPER                                              NOT REPORTED
                          Deputy Clerk                                             Court Reporter


                  Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                            None Present                                           None Present



 Proceedings:             IN CHAMBERS-ORDER AND NOTICE TO ALL PARTIES


The Court finds that Defendants’ Motion to dismiss [64], currently scheduled for hearing on July 20, 2021, is
appropriate for decision without oral argument.


Accordingly, this motion is taken UNDER SUBMISSION and the hearing is vacated. No appearances are
necessary on July 20, 2021. A written order will issue.


IT IS SO ORDERED.

cc: all parties




          CV-90 (12/02)                               CIVIL MINUTES - GENERAL          Initials of Deputy Clerk YS
